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IN THE UNITED STATES DISTRICT COURT F“£D pg,-' __ _- D-C'
FOR THE WESTERN DISTRICT OF TENNESSEE 6
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ANGELA F. ROBERTS, ) ‘(J',`~jii'l`:.w\_-`:~.'Y'E 41 ;\,iE!JPH\S
) .
Plaintiff, )
)
v. ) Case No. 03-2252
)
ALLSTATES FABRICATING COMPANY, )
INC., FKI LOGISTEK, and FKI )
INDUSTRIES, INC., )
)
Defendants. )
)

 

()RDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION
FOR SUMMARY JUDGMENT

 

Before the Court is the motion of Allstates Companies, lnc.l (“Defendant”) for summary
judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure (dkt # 8). Angela Roberts
(“Plaintiff”) asserts violations of( l) Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
§ 2000e et seq. (“Title VH”); (2) 42 U.S.C. § 1983, for deprivation of property without due process
of law under the Fourteenth Amendment to the United States Constitution; (3) the Tennessee Human
Rights Act, Tenn. Code Ann. § 4-21-401 (2003); and (4) various state common law torts. Defendant
argues that (l) the Title VI[ claim is time-barred because Plaintiff did not file the Complaint within
ninety days of receiving a Right to Sue Notice from the Equal Employment Opportunity Commission
(“EEOC”); (2) the remaining claims are time»barred because Plaintiff filed the Complaint after the

one year statute of limitations had run; and (3) Plaintiff has no excuse for her delay that Would justify

 

‘Allstates Companies, lnc., not Allstates Fabricating Company, Inc., is the proper name of
Det`endant. (w Def.’s Mot. for Summ. J.) Allstates Companies, Inc. is privately held by FKI
Logistek, a unit of FKI Industries, Inc. (B_e Def.’s Rule 26 Disclosure.)

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equitable tolling of either time limit. For the following reasons, the Court grants in part and denies
in part Defendant’s motion for summary judgment
I. FACTUAL BACKGROUND2

Plaintiff was employed as an administrative assistant with Defendant from October 17, 1992
to September 24, 2001 , and was the only female employee in the manufacturing division. Plaintiff
asserts that she was subjected to sexual discrimination, sexual harassment, and a hostile work
environment Defendant’ s employees and supervisors allegedly assaulted her on multiple occasions,
despite her repeated complaints Plaintiff maintains that the foreman groped her repeatedly, exposed
himself to her, called her a “crackwhore,” asked for sexual favors, taunted her with pornography in
front of co-workers, spread rumors as to her sexual promiscuity, and instructed other employees to
assault her. In the final alleged incident before Plaintiff was laid off, the foreman grabbed Plaintiff`s
breasts, pushed her against a wall, and groped between her legs. She also claims that paperwork and
personal belongings were removed from her desk, the janitorial staff was instructed not to clean her
work area, and her office furniture was moved to make her work more difficult

Plaintiff alleges that in addition to the repeated incidents of harassment, two official
employment actions were taken against her based on her gender. On August 15, 2001, she was
denied a promotion to the forklift driver position, and on September 24, 2001, she was laid off.
Defendant stated that the reason for her dismissal was company reorganization, but Plaintiff argues
that the denial of her promotion and her dismissal were due to sex discrimination and retaliation for
her complaints of sex discrimination Despite Plaintiff’s complaints to higher level management,

Defendant allegedly took no steps to stop or remedy the offending conduct.

 

2Facts are taken from the Arnended Complaint, Defendant’s Memorandum in Support of
Motion for Summary Judgment with its attached Exhibits, and Plaintiff’ s Memorandum of Law
in Opposition to Defendant’s Motion for Summary Judgment.

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Plaintiff filed an EEOC complaint and was issued a Right to Sue letter, dated December 12,
2002. Plaintiff maintains that she received the letter on January 17, 2003. Plaintiff filed the instant
complaint on April 16, 2003. Defendant filed a motion for summary judgment on September 18,
2003.

II. LEGAL STANDARD

As previously noted, because the Court considered the agreement that was attached to
Defendant’s motion, the motion will be considered a summary judgment motion instead of a motion
to dismiss Summary judgment is proper “if the pleadings, depositions, answers to interrogatories,
and admissions on file, together With the affidavits, if any, show that there is no genuine issue as to
any material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.
P. 56(c). ln other words, summary judgment is appropriately granted “against a party who fails to
make a showing sufficient to establish the existence of an element essential to that party’s case, and
on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 31'?,
322 (1986).

The party moving for summary judgment may satisfy its initial burden of proving the absence
of a genuine issue of material fact by showing that there is a lack of evidence to support the
nonmoving party’s case. M. at 325. This may be accomplished by submitting affirmative evidence
negating an essential element of the nonmoving party’s claim, or by attacking the opponent’s
evidence to show why it does not support a judgment for the nonmoving party. 10a Charles A.
Wright et al., Federal Practice and Procedure § 2727, at 35 (2cl ed. 1998).

Facts must be presented to the court for evaluation Kalamazoo River Study Group v.
Rockwell Int’l Corp., 171 F.3d 1065, 1068 (6th Cir. 1999). The court may consider any material that

would be admissible or usable at trial. 10a Charles A. Wright et al., Federal Practice and Procedure

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§ 2721, at 40 (2d ed. 1998). Although hearsay evidence may not be considered on a motion for
summary judgment, Jacklvn v. Schering-Plough Healthcare Prods. Sales Coro.. 176 F.3d 921, 927
(6th Cir. 1999), evidentiary materials presented to avoid summary judgment otherwise need not be

in a form that would be admissible at trial. Celotex, 477 U.S. at 324; Thaddeus-X v. Blatter, 175

 

F.3d 378, 400 (6th Cir. 1999).

In evaluating a motion for summary judgment, all the evidence and facts must be viewed in
a light most favorable to the nonmoving party. Matsushita Elec. lndus. Co. v. Zenith Radio Coi_'p.,
475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd.. 259 F.3d 452, 460 (6th Cir. 2001).
Justifiable inferences based on facts are also to be drawn in favor of the non-movant. Kalamazoo
Lv_e_r, 171 F.3d at 1068.

Once a properly supported motion for summary judgment has been made, the “adverse party
may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(c). A genuine issue for trial
exists if the evidence would permit a reasonable jury to return a verdict for the nonmoving party.
Anderson v. Libertv Lobbv. Inc., 477 U.S. 242, 248 (1986). To avoid summary judgment, the
nonmoving party “must do more than simply show that there is some metaphysical doubt as to the
material facts.” Matsushita, 475 U.S. at 586.

III. ANALYSIS

A. Title VII Claims

Defendant asserts that Plaintiff was untimely in filing the complaint because more than ninety
days had passed since the EEOC issued a right-to~sue letter. Plaintiff contends that the complaint
was timely because it Was filed within ninety days of her receipt of the right-to-sue notice. For the

following reasons, the Court finds that the Title VII complaint was timely filed.

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Under Title VII, when the EEOC issues a right-to-sue notice to a complainant, “within ninety
days after the giving of such notice a civil action may be brought against the respondent named in
the charge . . . by the person claiming to be aggrieved." 42 U.S.C. § 2000e-5 (2003). A civil action
against the respondent named in the charge must be brought within ninety days of receipt of the
right-to-sue letter or it is time-barred. Baldwin County Welcome Ctr. v. Brown, 466 U.S. 147, 149
(1984).

The Sixth Circuit has resolved that notice is given, and hence the

ninety-day limitations term begins running, on the fifth day following

the EEOC’s mailing of a [right-to-sue] notification to the claimant’s

record residential address, by virtue of a presumption of actual

delivery and receipt within that five-day duration, unless the plaintiff

rebuts that presumption with proof that he or she did not receive
notification Within that period.

Graham-Humphreys v. Memphis Brooks Museum of Art, Inc., 209 F.3d 552, 557 (6th Cir. 2000).
The EEOC issued a right-to-sue letter on December 12, 2002. Plainti ff filed her complaint on April
16, 2003, Which is 125 days after the EEOC issued the right-to-sue letter. Given the five day receipt
presumption, the complaint was filed thirty days after the expiration of her ninety-day limitations
period. However, Plaintiff maintains that she did not receive the right-to-sue letter until January 17,
2003. “[T]he 90-day limitations period begins when a plaintiff actually receives the EEOC’s letter.”
Wilson v. National Car Renta] System, Inc., 94 F.3d 646, * l.

Defendant contends that a claimant is presumed to have received a right-to-sue letter within

five days of mailing. However, in Cohen v. School Dist. of City of River Rouge, 173 F.3d 428 (6th

 

Cir. 1999), the Court held that “[u]nder the common law rule, in order to take advantage of the
presumption that a letter has been received, the mailer must prove that the letter was properly
addressed, had sufficient postage, and was properly deposited in the mail.” Cohen, 173 F.3d at *1.

ln Cohen, the Sixth Circuit held that, “[g]iven the fact that the EEOC normally has the means to

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demonstrate receipt of the Notice of Right to Sue, we decline to foreclose the Title VII claims of an
individual who was diligent . . . in the pursuit ofrelief.” Ld. The Court remanded the case in spite
of proof that the plaintiff had received three notices from the post office that it had attempted to
deliver the right-to-sue letter. Ld. at 1-2

In the instant case, Defendant has offered no proof that the right-to-sue letter was actually
mailed to Plaintiff on the date of issuance, that it was mailed to the correct address, that it had
sufficient postage, or that delivery was ever attempted Plaintiff insists that she did not receive the
letter until January 17, 2003. She knows that January 17 is the exact date because she noted it on
her personal calendar. Furthermore, Plaintiff has asserted that she repeatedly had difficulty receiving
her mail and made numerous complaints to the post office. The Court thus holds that Plaintiff’ s
complaint is not time-barred.

Accordingly, the Court denies Defendant’s motion for summary judgment

B. Plaintiff`s Other Claims

Defendant next argues that Plaintiff` s other claims are barred by the one year Tennessee
statute of limitations as codified by Tennessee Code Annotated § 28-3-104. This statute governs
Plaintiff’s tort, conspiracy, Tennessee Human Rights Act, and federal civil rights claim. Plaintiff
acknowledges that the remainder of her claims are time-barred Therefore, the Court grants
Defendant’s motion for summary judgment as to Plaintiff’s 42 U.S.C. § 1983 claim and Plaintiff’ s

state law claims

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IV. CONCLUSION
For the reasons stated herein, Defendant’s motion for summary judgment is DENIED as to

Plaintiff’ s Title VII claim and GRANTED as to all of Plaintiff’ s other claims

IT IS SO ORDERED this -?rr( day ofMay, 2005.

 

ICE BO E DONALD
ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:03-CV-02252 was distributed by fax, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

